    Case: 1:18-cv-06033 Document #: 31 Filed: 05/30/19 Page 1 of 2 PageID #:116




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

SCOTT DOLEMBA,                                      )
on behalf of plaintiff and a class,                 )
                                                    )
                       Plaintiff,                   )       18 C 6033
                                                    )
               vs.                                  )       Judge Kendall
                                                    )       Magistrate Judge Weisman
OOMA, INC.                                          )
and JOHN DOES 1-10,                                 )
                                                    )
                       Defendants.                  )

                                STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), plaintiff Scott Dolemba voluntarily dismisses

his individual claims against defendant Ooma, Inc. with prejudice and without costs. Plaintiff

Scott Dolemba voluntarily dismisses his class claims against Ooma, Inc. without prejudice and

without costs. Plaintiff Scott Dolemba voluntarily dismisses his claims against John Does 1-10

without prejudice and without costs.


Respectfully submitted,

s/ Heather Kolbus                                   s/ Christina Sarchio (w/ consent)
Daniel A. Edelman                                   Christina Sarchio
Heather Kolbus                                      DECHERT, LLP
EDELMAN, COMBS, LATTURNER                           1900 K Street, NW
       & GOODWIN, LLC                               Washington, D.C. 20006
20 S. Clark Street, Suite 1500                      (312) 646-5800
Chicago, IL 60603                                   (312) 646-5858 (FAX)
(312) 739-4200
(312) 419-0379 (FAX)
    Case: 1:18-cv-06033 Document #: 31 Filed: 05/30/19 Page 2 of 2 PageID #:116




                               CERTIFICATE OF SERVICE

        I, Heather Kolbus, certify that on May 30, 2019, I caused a true and accurate copy of the
foregoing document to be filed via the Court’s CM/ECF system which caused notice to be sent to
the following:

       Christina Guerola Sarchio - christina.sarchio@dechert.com
       Dechert LLP
       1900 K Street, NW
       Washington, D.C. 20006


       Christopher S. Burrichter - christopher.burrichter@dechert.com
       Dechert LLP
       35 W. Wacker Drive, Suite 3400
       Chicago, IL 60601

                                                           s/ Heather Kolbus
                                                           Heather Kolbus


Daniel A. Edelman
Heather Kolbus
EDELMAN, COMBS, LATTURNER
       & GOODWIN, LLC
20 S. Clark Street, Suite 1500
Chicago, Illinois 60603
(312) 739-4200
